IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

NEXGEN COASTAL INVESTMENTS, LLC,
Plaintiff,

vs.
CASE NO 2:21-CV-01216

SHARON A. BLEDSOE, et al.,
Defendant(s).

NOTICE OF FILING ORDER DISMISSING BANKRUPTCY CASE

COMES NOW, Plaintiff, Nexgen Coastal Investments, LLC, by and through the
undersigned counsel, hereby files this Notice of Filing Order Dismissing Bankruptcy Case, Order
Dismissing Bankruptcy Case is attached hereto and incorporated as “Exhibit A”.

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the forgoing has been furnished to
all parties on the Service List by U.S. Mail and/or Electronic Mail on this 28" day of February,

2024.

/s/Damian G. Waldman

Damian G. Waldman, Esq.

Florida Bar No. 0090502

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10101 W. Greenfield Avenue
West Allis, WI 53214

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SERVICE LIST

Mary Bledsoe a/k/a Mary A. Bledsoe
4176 N. 44" Street
Milwaukee, WI 53214

Ford Motor Credit Company a/k/a
Ford Motor Credit Company, LLC
301 S. Bedford Street, Suite 1
Madison, WI 53703

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EXHIBIT A

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So Ordered.

Dated: January 10, 2024

&. Michael Halfenger|
Chief United States Bankruptcy Judge

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF WISCONSIN

In the matter:
Sharon A Bledsoe, Case No. 23-24239-gmh
Debtor. Chapter 13 Bankruptcy

ORDER DISMISSING CASE

The chapter 13 trustee filed a motion to dismiss on December 8, 2023. No objections were filed.

Based on the record,
IT IS ORDERED that this case is dismissed, effective immediately.
IT IS FURTHER ORDERED that the Trustee may pay up to $1,000, or the allowed amount
of any pending or previously ordered fee application (less the pre-petition fees paid directly
to the attorney as disclosed on Form B2030), from the funds on hand to the Debtor's
attorney as an administrative claim before refunding any funds to the Debtor.

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